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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Lola Lucio,

                                  Plaintiff(s),
v.                                                    Case No. 2:19−cv−11771−MAG−RSW
                                                      Hon. Mark A. Goldsmith
Charles Edmonds, et al.,

                                  Defendant(s),



          ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

   IT IS ORDERED that this matter is referred to U.S. Magistrate Judge Whalen pursuant to
28 U.S.C. § 636(b)(3), for the following purpose(s):

     • Conduct settlement conference




                                                  s/Mark A. Goldsmith
                                                  Mark A. Goldsmith
                                                  United States District Judge



                                     Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.



                                                  s/K Sandusky
                                                  Case Manager

Dated: December 2, 2019
